IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS


Jonathan David Lawson,                                Case No. 5:25-cv-04045-JWB-TJJ

Petitioner

v.

Angeliina Lynn Lawson,

Respondent, Pro Se



In the Matter of the Removal of Case: AN-2020-DM-000131 (Anderson County District
Court)


TIDRD NOTICE OF CONTINUED DOCKET SUPPRESSION AND RECORD
TAMPERING


COMES NOW Respondent, Angeliina Lynn Lawso~ appearing pro se, and submits this
Third Notice to inform the Court of continued and deliberate suppression of the state
court record by the Clerk of the Anderson County District Court, in violation of28
U.S.C. § 1446(d), due process, and the Americans with Disabilities Act (ADA).

I. ONGOING RECORD SUPPRESSION POST-REMOVAL
1. As of May 12, 2025, the publicly accessible docket for Case No. 2020-DM-131 in
Anderson County still reflects no entries for any filings submitted after the May 8, 2025
hearing. This includes filings transmitted under federal authority and ADAjurisdiction.

2. Despite multiple notices to the clerk and court officials, required materials-such as
designation of record, post-hearing objections, and formal notices of withdrawal-have
not been entered or made available.

3. Exhibit H is attached to this filing and reflects a full docket history printed May 12,
2025, confirming the absence of updates and the ongoing denial of access to current
pleadings and federally relevant filings.

4. Exhibit I is attached to this filing and reflects the Designation of Record For Federal
Review that is not docketed
II. IRREGULAR INDEXING AND BACKDATED SUPPRESSION
4. The state court case record extends back to September 1, 2020, but index numbering in
the docket does not begin until March 29, 2024 (Index #1).

5. There are no index entries for any documents filed or entered between the case's
original opening in 2020 and March 29, 2024, including appearances, motions, or court
orders filed after the Respondent's return to court on May 18, 2023.

6. This irregularity indicates selective omission, and it obscures an entire year of
litigation history, filings, and procedural developments that are critical to federal review
and preservation of ADA and civil rights claims.

III. REQUEST FOR FEDERAL ACKNOWLEDGMENT AND ACTION
7. Respondent respectfully requests that this Court:

a. Take judicial notice of the ongoing failure by the Anderson County Clerk to maintain
and update the docket following federal removal;

b. Recognize that the state docket's failure to index documents from September 2020 to
March 2024 constitutes record suppression;

c. Accept and preserve Exhibit H and Exhibit I as evidence of procedural tampering and
omission;

d. Permit the filing of additional exhibits and declarations in support of these findings;

e. Retain this notice as part of the federal record for review of jurisdictional violations
and ADA-based exclusion.


                                                               Date: May 12, 2025




1914 5th Ave., Leavenworth, KS 66048

angeliinacourtrecords@gmail.com

(913) 972-1661
                           CERTIFICATE OF SERVICE

I hereby certify that on May 12, 2025, I filed the foregoing Designation of Record for
Federal Removal-Case No. S:25-cv-04045-JWB-TJJ with the Clerk of the District
Court of Anderson County, Kansas, and served a true and correct copy of the same by
U.S. Mail and/or electronic service to the following:

Jonathan David Lawson
7029 Round Prairie St
Shawnee, KS 66226

Clerk of the District Court of Anderson County
100 E. 4th Ave.
Garnett, KS 66032



                                                           Dated: May 12, 2025




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